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 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                             CASE NO. 1:93-CR-05046-AWI-2
11
                                  Plaintiff,               ORDER TO REDUCE TERM OF IMPRISONMENT
12                                                         TO TIME SERVED
                            v.
13
     ABRAHAM BETANCOURT,
14
                                 Defendants.
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            BEFORE THE COURT is a motion filed by the United States of America and the Director of
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     the Federal Bureau of Prisons pursuant to 18 U.S.C. § 3582(c)(1)(A)(i), seeking a modification of the
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     term of imprisonment of the defendant,
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     Abraham Betancourt, to time served and commencement of the
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     five-year term of supervised release previously imposed. The Court finds:
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            1. Abraham Betancourt was found guilty of violating
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     21 U.S.C. §§ 846 and 841(a)(1), Conspiracy to Manufacture, and
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     21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2, Manufacturing and Aiding and Abetting the Manufacture of a
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     Controlled Substance. He was sentenced on February 20, 1994, to a 324-month term of imprisonment,
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     followed by a five-year term of supervised release.
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 1      2. Mr. Betancourt, age 73, has now served 263 months of his prison sentence (81% of the term). His

 2 Good Conduct Release Date is March 20, 2017.

 3      3. Mr. Betancourt suffers from progressive dementia, severe thoracic-abdominal aortic aneurysm,

 4 moderate to severe aortic valve regurgitation, normal pressure hydrocephalus status post ventricular

 5 peritoneal shunt placement, coronary artery disease, chronic kidney disease and hypothyroidism.

 6 Mr. Betancourt utilizes a walker. The staff assist him with his activities of daily living as needed.

 7          4. Title 18 U.S.C. § 3582(c)(1)(A)(i) authorizes the Court, upon motion of the Director of the

 8 Bureau of Prisons, to modify a term of imprisonment upon the finding that extraordinary and compelling

 9 reasons warrant the reduction. The Director of the Bureau of Prisons contends, and this Court agrees,

10 that the defendant's debilitated status constitutes extraordinary and compelling reasons that warrant the

11 requested reduction.

12          IT IS THEREFORE ORDERED that the defendant's term of imprisonment is hereby reduced

13 to the time he has already served.

14          IT IS FURTHER ORDERED that the defendant shall be released from the custody of the

15 Federal Bureau of Prisons as soon as the release plan is implemented, and travel arrangements can be

16 made.

17          IT IS FURTHER ORDERED that upon his release from the custody of the Federal Bureau of

18 Prisons, the defendant shall begin serving the five-year term of supervised release previously imposed.

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     IT IS SO ORDERED.
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21 Dated: July 29, 2015
                                                 SENIOR DISTRICT JUDGE
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